Case 1:05-cr-10025-.]DT Document 18 Filed 08/24/05 Page 1 of 2 Page|D 31

[N THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRlCT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. 1:05-10025-01-T
DJUAN JONES
ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 23, 2005, Assistant U. S. Attorney,
Victor Lee Ivy, appearing for the government, and the defendant appeared in person
and with eounsel, Wayne T. DeWees, Who Was retained.

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts l and 6 of the Indictment.

This case has been set for sentencing on Wednesdav . November 16.. 2005.. at 8:30

The defendant is allowed to remain on his present bond.

IT IS SO ORDERED.

QQW)>.M

JAME . TODD
UNTI` STATES DISTRICT JUDGE

DATE; 93 W }MS/

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with sure ss and/or az(b) Fnch on _B::Q_‘{B;S_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CR-10025 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

